      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 1 of 30


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11
                          UNITED STATES DISTRICT COURT
12
                                DISTRICT OF MARYLAND
13

14   MOHINANI GROUP, S.A., a       )           CASE NO:
                                   )
15   Panamanian corporation; MA    )           COMPLAINT FOR:
     GROUP, S.A., a Guatemalan     )
16                                 )           1. BREACH OF CONTRACT
     corporation; MULZEK
                                   )              (COVENANT OF GOOD FAITH
17   INVESTMENT, S.A., a Uruguayan )
     corporation; and MOHINANI     )              AND FAIR DEALING)
18                                 )           2. INTENTIONAL
     GROUP GUATEMALA, S.A., a                     INTERFERENCE WITH
                                   )
19   Guatemalan corporation,       )              PROSPECTIVE ECONOMIC
                                   )              ADVANTAGE
20                     Plaintiffs, )           3. INTENTIONAL
                                   )              INTERFERENCE WITH
21   vs.                           )
                                   )              CONTRACTUAL RELATIONS
22                                 )           4. UNJUST ENRICHMENT
     PANDORA FRANCHISING, LLC, )               5. UNFAIR COMPETITION
23   a Maryland Limited Liability  )           6. DECLARATORY RELIEF
     Company; PANDORA JEWELRY )
24   LATAM, LLC, a Maryland        )
     Limited Liability Company     )
25                                 )           JURY TRIAL DEMANDED
                       Defendants. )
26                                 )
                                   )
27                                 )
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28                                 )
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                                     COMPLAINT
       Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 2 of 30



 1            Plaintiffs, Mohinani Group, S.A., MA Group, S.A., Mulzek Investments,
 2   S.A., and Mohinani Group Guatemala, S.A., bring this civil action against
 3   Defendants, Pandora Franchising, LLC (“Pandora Franchise”), and Pandora
 4   Jewelry Latam, LLC (“Pandora Latam”), (unless specifically identified,
 5   collectively referred to as “Defendants” or “Pandora”), and allege:
 6                                   I. INTRODUCTION
 7            1.   This is an action by franchisees of Pandora against Pandora for breach
 8   of contract (the implied covenant of good faith and fair dealing), intentional
 9   interference with prospective economic advantage, and intentional interference
10   with contractual relations, unfair competition, unjust enrichment, and conversion.
11   Plaintiffs also seek a judicial declaration that remedy Defendants’ fraudulent,
12   unlawful, deceptive practices in connection with Pandora’s scheme to take
13   Plaintiffs’ Pandora franchises for itself without just compensation and damages
14   arising from Defendants’ unscrupulous, unlawful, unfair and fraudulent conduct.
15            2.   Plaintiffs established the Pandora brand in Latin America through a
16   substantial financial investment to build and operate their Pandora franchises,
17   contribute to advertising the brand and develop a good reputation including local
18   goodwill. Through multiple actions and a scheme to convert Plaintiffs’ stores and
19   local goodwill as alleged herein, Defendants believe they can orchestrate false
20   claims to default Plaintiffs under a false pretext to take away material benefits of
21   the franchise agreements and avoid liability for breaching the covenant of good
22   faith.
23            3.   A party’s discretion must be exercised in good faith. Defendant is
24   acting in bad faith.
25                                        II. PARTIES
26            4.   Plaintiff, Mohinani Group, S.A., is a Panamanian corporation with its
27   principal place of business in Panama.
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                                              -2-
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 3 of 30



 1         5.     Plaintiff, MA Group, S.A., is a Guatemalan corporation with its
 2   principal place of business in Guatemala.
 3         6.     Plaintiff, Mulzek Investments, S.A., is a Uruguayan corporation with
 4   its principal place of business in Uruguay.
 5         7.     Plaintiff Mohinani Group Guatemala, S.A., is a Guatemalan
 6   corporation with its principal place of business in Guatemala.
 7         8.     Each Plaintiff is a party to at least one written franchise agreement for
 8   a Pandora franchise.
 9         9.     Defendant, Pandora Franchising, LLC, is a Maryland limited liability
10   company. Its principal place of business is in Baltimore, Maryland. Its Managers
11   (none are named as a party at this time), Matthew Scott, Siddharth Keswani, and
12   Marie-Jose David, are all residents and/or citizens of the State of Maryland.
13         10.    Defendant, Pandora Jewelry Latam, LLC, is a Maryland limited
14   liability company with its principal office in Baltimore, Maryland. Pandora
15   Jewelry Latam, LLC is on information and belief the successor-in-interest,
16   transferee and assignee of Pandora Franchising LLC’s rights and obligations under
17   certain or all of Plaintiffs’ Franchise Agreements. In September 2021, Defendants
18   sent Plaintiffs a document purportedly showing that Pandora Franchising LLC
19   assigned/conveyed/transferred its rights and obligations under the Franchise
20   Agreements to Pandora Jewelry Latam LLC. However, at the time of filing this
21   Complaint, according to the online record of the Maryland Secretary of State,
22   Pandora Latam LLC is not in good standing.
23         11.    Pandora Jewelry Latam, LLC’s Managers are Matthew Scott,
24   Siddharth Keswani, and Marie-Jose David. They are residents and/or citizens of
25   the State of Maryland.
26         12.    Pandora Jewelry Latam LLC operates in Latin America. Its general
27   manager in Panama is Martin Jaime Pereyra Rozas who resides in Panama City.
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                                              -3-
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 4 of 30



 1                         III. JURISDICTION AND VENUE
 2         13.    The Court has subject matter jurisdiction based on 28 U.S.C.
 3   §1332(a), there being complete diversity of citizenship between the parties and the
 4   value of the claims exceeds $75,000, exclusive of interest and costs.
 5         14.    This Court has supplemental jurisdiction over the claims for relief
 6   under Maryland law under 28 U.S.C. §1367(a) because the claims form one
 7   constitutional case, derive from a common nucleus of operative fact, are such that
 8   they would ordinarily be expected to be tried in one judicial proceeding, and
 9   judicial economy, convenience fairness and comity are advanced by trying these
10   claims together as one case.
11         15.    Jurisdiction and venue is proper in this district under Section 13(B) of
12   the Franchise Agreement in that Defendants agreed that any claim arising out of or
13   relating to the franchise agreements or breach of the franchise agreements would
14   be brought in this Court (Fr. Agrmt. §13B). Furthermore, all Defendants are
15   citizens and residents of the State of Maryland.
16         16.    Venue is proper in this District for additional reasons. This is a
17   district in which, under 28 U.S.C. §§ 1391(b)(1), 1391(b)(2), and 1391(c)(2), a
18   substantial part of the events giving rise to the claims occurred in this District and
19   all Defendants are residents of the State. It is from Defendants’ headquarters in this
20   District that communications and demands to Plaintiffs take place. Furthermore,
21   and execution of the Agreements occurred in Maryland; and the parties agreed that
22   any suit, action or legal proceeding arising out of or relating to the franchise
23   agreements would be brought in this Court. Defendants have sufficient connection
24   with the District of Maryland to make venue proper in this District.
25         17.    Plaintiffs are not ignoring that several Franchise Agreements provide
26   for mediation. However, most of them do not require mediation. Moreover, the
27   interconnection between the actions and omissions of the various defendants
28   makes the mediation provision futile because the claims against all Defendants
                                              -4-
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 5 of 30



 1   must be considered together, and Defendant Pandora Franchising LLC is not a
 2   party to a mediation agreement based on a purported assignment to Pandora Latam
 3   LLC, signed by Mr. Pereyra, on September 1, 2021. Here is a screen shot of the of
 4   the September 1, 2021 letter:
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                                      COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 6 of 30



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 3         18.      Thus, it is necessary to state in this complaint, the allegations against
 4   all Defendants. Moreover, the mediation provision is buried deep within a long
 5   pre-printed form agreement that was presented on a take-it-or-leave-it basis and
 6   has as its effect, delay and increased cost to seek relief. The procedural and
 7   substantive surprise and cost and other aspects make the provision unconscionable.
 8   Without waiving these defenses to mediation, each Plaintiff is willing, subject to
 9   any requirements of the Court, to defer formal service of the Complaint on
10   Defendants and provide a courtesy informational copy of this document together
11   with a request to commence mediation and thus defer commencement of the
12   litigation against Defendants pending a mediation.
13         19.      The Franchise Agreements provide for arbitration. Plaintiffs waive
14   arbitration and elect to proceed in this Court. If Defendants elect to arbitrate by
15   commencing an arbitration on the claim according to the arbitration provision in
16   the Franchise Agreements, Plaintiffs anticipate cooperating in and participating in
17   the arbitration. Whether the action proceeds in this Court or in arbitration,
18   Plaintiffs reserve the right to seek provisional relief in aid of litigation and/or
19   arbitration.
20                                   IV. BACKGROUND
21                                 The Franchise Agreements
22         20.      On or about October 25, 2013, Plaintiff Mohinani Group, S.A.
23   (“MG”) entered into a Franchise Agreement with Defendant Pandora Franchising
24   LLC for a Pandora store at Tocumen Airport in Panama (“Location # 476”). A
25   copy of the Franchise Agreement is attached to this Complaint as Exhibit A.
26         21.      On or about October 25, 2013, MG entered into a Franchise
27   Agreement with Pandora Franchising LLC for a Pandora store at Allbrook Mall in
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                                                -6-
                                          COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 7 of 30



 1   Panama (“Location #510”). A copy of the Franchise Agreement is attached to this
 2   Complaint as Exhibit B.
 3         22.   On or about October 25, 2013, MG entered into a Franchise
 4   Agreement with Pandora Franchising LLC for a Pandora store at Multiplaza Mall
 5   in Panama (“Location #530”). A copy of the Franchise Agreement is attached to
 6   this Complaint as Exhibit C.
 7         23.   On or about June 2, 2014, MG entered into a Franchise Agreement
 8   with Pandora Franchising LLC for a Pandora store at the Metromall in Panama
 9   (“Location #608”).    A copy of the Franchise Agreement is attached to this
10   Complaint as Exhibit D.
11         24.   On or about January 11, 2016, Plaintiff MG entered into a Franchise
12   Agreement with Pandora Franchising LLC for a Pandora store at Entre Avenida
13   David-Chiriqui, Panama (“Location #672”). A copy of the Franchise Agreement is
14   attached to this Complaint as Exhibit E.
15         25.   On or about January 11, 2016, Plaintiff MG entered into a Franchise
16   Agreement with Pandora Franchising LLC for a Pandora store at Via Centenario,
17   in Panama City, Panama (“Location #673”). A copy of the Franchise Agreement is
18   attached to this Complaint as Exhibit F.
19         26.   On or about October 19, 2017, Plaintiff MG entered into a Franchise
20   Agreement with Defendant Pandora Franchising LLC for a Pandora franchise at
21   “Town Centre,” Nivel r2, Space R2-214, Costa del Este, Panama City, Panama
22   (“Location #765”). A copy of the Franchise Agreement is attached to this
23   Complaint as Exhibit G.
24         27.    On or about May 8, 2017, Plaintiff MA Group, S.A. entered into a
25   Franchise Agreement with Defendant Pandora Franchising LLC for a Pandora
26   store at Oakland Mall in Guatemala City, Guatemala (“Location #753”). A copy of
27   the Franchise Agreement is attached to this Complaint as Exhibit H.
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                                                -7-
                                       COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 8 of 30



 1         28.    On or about October 19, 2017, Plaintiff MA Group, S.A., entered into
 2   a Franchise Agreement with Defendant Pandora Franchising LLC for a Pandora
 3   store at Miraflores Mall in Guatemala City, Guatemala (“Location #799”). A copy
 4   of the Franchise Agreement is attached to this Complaint as Exhibit I.
 5         29.    On or about November 6, 2017, Plaintiff Mulzek Investment, S.A.
 6   (“Mulzek”) entered into a Franchise Agreement with Defendant Pandora
 7   Franchising LLC for a Pandora store at Punta Carretas Shopping in Montevideo,
 8   Uruguay (“Location #859”). A copy of the Franchise Agreement is attached to this
 9   Complaint as Exhibit J.
10         30.    On or about November 8, 2017, Plaintiff Mulzek entered into a
11   Franchise Agreement with Defendant Pandora Franchising LLC for a Pandora
12   store at Punta Shopping in Punta del Este, Uruguay (“Location #853”). A copy of
13   the Franchise Agreement is attached to this Complaint as Exhibit K.
14         31.    On or about November 19, 2018, Plaintiff MA Group entered into a
15   Franchise Agreement with Defendant Pandora Franchising LLC for a Pandora
16   store at Mall Pradera Concepcion in Santa Catarina Pinula, Guatemala (Location
17   #137).
18         32.    On or about July 22, 2019, Plaintiff MG entered into a Franchise
19   Agreement with Defendant Pandora Franchising LLC for a Pandora store at
20   Panama City Tocumen Airport Terminal 2 (“Location #802”). A copy of the
21   Franchise Agreement is attached to this Complaint as Exhibit M.
22         33.    On or about December 3, 2019, Plaintiff Mohinani Guatemala, S.A.,
23   entered into a Franchise Agreement with Defendant Pandora Franchising LLC for
24   a Pandora store in Naranjo Mall, Guatemala.
25            Pandora’s Scheme to Take-Over Plaintiffs’ Pandora Franchises
26         34.    Rajesh Mohinani (“Mr. Mohinani”) is the operating principal of each
27   of Plaintiffs’ Pandora franchises and a personal guarantor on each signed Franchise
28   Agreement.
                                             -8-
                                       COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 9 of 30



 1         35.    Plaintiffs were the first to bring the Pandora brand into the Latin
 2   American market and invested money and worked hard for nearly a decade to
 3   develop Pandora franchises throughout Panama, Guatemala, and Uruguay, earning
 4   multi-millions in U.S. dollars of gross revenue, purchasing directly from Pandora
 5   millions of dollars’ worth of jewelry for re-sale at its stores, investing millions of
 6   dollars in marketing and training to promote the Pandora brand and generating
 7   hundreds of thousands of U.S. dollars to Pandora in fees. Plaintiffs invested
 8   approximately $5 million in the development and build-out of their stores which
 9   consistently performed in the top tier of Latin America Pandora stores. In fact, as
10   of May 16, 2022, Defendants' General Manager of Latin America, Mr. Pereyra,
11   issued his bi-weekly “Pandora Latam in a Minute” video which is sent to all
12   Pandora Latin America franchisees and three of the top ten highest earning
13   Pandora stores in Latin America belonged to Plaintiffs. This was affirmed 15 days
14   later on May 30, 2022, when Mr. Pereyra announced that two of the top ten highest
15   earning Pandora stores in Latin America belonged to Plaintiffs.
16         36.    In or about April 2021, Defendants, through Mr. Pereyra, hatched a
17   plan to pilfer Plaintiffs' multi-million-dollar network of Pandora stores for
18   Pandora’s pecuniary gain without paying Plaintiffs just compensation for the
19   stores. This plan, if it came to fruition as conceived by Defendants, would have
20   resulted in - and threaten to result in - Pandora’s takeover of the multi-million
21   dollar network of Pandora locations and its 80-plus employees being terminated on
22   or about July 1, 2022, without paying Plaintiffs a dime. It would be like at an
23   attempt at contractual theft of the business Plaintiffs built and operated.
24         37.    Specifically, Pandora’s scheme commenced on or about February 15,
25   2021 when, despite Plaintiffs providing bi-monthly updates, as well as offers of
26   unlimited access to any and all litigation investigations and payment of all legal
27   expenses arising from the review of these documents, with regard to an unrelated
28   personal litigation between Mr. Mohinani and his wife in Panama, and knowing
                                              -9-
                                         COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 10 of 30



 1   that Plaintiff Mohinani Group operates stores in multiple franchise brands
 2   throughout Latin America, Pandora issued a sweeping demand for financial
 3   information and documentation related to Plaintiffs' commercial invoices, import
 4   declarations, custom clearance documents, company structure, dividends paid or
 5   received, capital movements, Tocumen Airport tendering process documents,
 6   vendor and customer master data lists, bank reconciliations, and sequential number
 7   of checks issued from 2017 to 2020.
 8         38.   On or about March 5, 2021, Plaintiffs provided financial statements in
 9   good faith including a detailed and itemized list of information and responses to
10   the requests. No immediate response was provided by Pandora Franchise to
11   Plaintiffs' correspondence, and additional updates were provided by Plaintiffs to
12   Pandora Franchise every two weeks until February 2022 without issue. Plaintiffs
13   complied with reporting requirements.
14         39.   Meanwhile, unknown to Plaintiffs, on or about April 16, 2021,
15   Pandora Franchise and/or Mr. Pereyra, as an officer of Pandora, formed and
16   incorporated Pandora Jewelry Panama Retail, S.A. (“Pandora Retail”). The below
17   image showing a business entity detail of Pandora Retail is from the Public
18   Registry of Panama website:
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                                             - 10 -
                                      COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 11 of 30



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11        40.     On or about August 15, 2021, Plaintiff Mohinani Group’s high
12   ranking employee Fabiola Tapia abruptly, after eight years of employment at
13   Plaintiff Mohinani Group, quit her employment foregoing thousands of dollars in
14   severance pay “to dedicate time to herself.” Plaintiffs are informed and believe
15   and thereupon allege that Ms. Tapia was recruited by Mr. Pereyra and Anny
16   Cordovez (“Ms. Cordovez”), the second-in-command to Mr. Pereyra, to quit
17   working for Plaintiff Mohinani Group and to work for Pandora Latam and Pandora
18   Retail. Ms. Tapia is currently employed by Pandora as the Territory Manager in
19   Panama for Pandora. Pandora never notified Plaintiffs of Ms. Tapia’s role as
20   Territory Manager even though Mr. Mohinani had the only seven stores in the
21   territory. Plaintiffs learned of Ms. Tapia’s role via LinkedIn.
22        41.     On or about February 18, 2022, Mr. Mohinani received a letter from
23   the Tocumen International Airport giving requesting and authorizing that Plaintiff
24   Mohinani Group start building out the Pandora store, Location #802, in the newly
25   inaugurated Terminal 2 after the restrictions lifted from the COVID-19 pandemic.
26   Three days later, on February 21, 2022, Mr. Mohinani wrote to legal counsel for
27   Pandora and Mr. Pereyra, memorializing a conversation had between them and
28   requesting their support and authorization to start construction on the Terminal 2

                                              - 11 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 12 of 30



 1   Pandora store. Mr. Mohinani memorialized the issues causing delay beyond
 2   Plaintiffs’ control including that the Panamanian government terminated its
 3   agreement with Brazilian contractor Norberto Oldebrecht S.A., the Brazilian
 4   subcontractor, who failed to complete build out of the new construction and, once
 5   the terminal was inaugurated, there were construction defects including floods.
 6   After the issues were addressed, the Covid-19 pandemic started further delaying
 7   construction. Tocumen International Airport officials informed Mr. Mohinani that
 8   during the pandemic in 2020 and 2021, Tocumen International Airport did not
 9   allow any concession owners to do any work on their stores. Mr. Mohinani
10   reasonably requested that the effective date of the Franchise Agreement be
11   extended to February 15, 2022, so that the franchise store could be built in
12   compliance with government regulations. Mr. Mohinani told Mr. Torres and Mr.
13   Pereyra that airport officials requested a response within 15 days.
14         42.    On February 24, 2022, and in response to Mr. Mohinani’s reasonable
15   request for time to build out Location #802, Mr. Pereyra made his first brazen
16   attempt to default one of Plaintiffs’ Franchise Agreements. Mr. Pereyra signed a
17   letter on Pandora Latam letterhead entitled “Notice of Termination of Franchise
18   Agreement Tocumen Airport Terminal 2 store.” Mr. Pereyra advised Plaintiff
19   Mohinani Group that Pandora was terminating Location 802 because Section 2(C)
20   required the franchisee to open within 180 days from the Effective Date despite the
21   letter from three days prior and the fact that the delays at Tocumen International
22   Airport Terminal 2 were public knowledge as the delays were covered by local
23   media and newspapers, to wit:
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                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 13 of 30



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11         43.    Mr. Pereyra knew or reasonably should have known, beyond doubt,
12   that Plaintiff Mohinani Group could not open Location #802 prior to the expiration
13   of the prescribed time limit because Terminal 2 was not open and the store location
14   had not been delivered to Plaintiff Mohinani Group by Tocumen International
15   Airport.
16         44.    On or about April 8, 2022, Mr. Mohinani, Mr. Pereyra, and counsel
17   for Plaintiffs and Defendants participated in a meeting in Panama at the offices of
18   Pandora Retail, Pandora Latam (the purported new franchisor) and Pandora
19   Jewelry Panama, S.A. (which, on information and belief is a corporation used by
20   Mr. Pereyra and Pandora to avoid taxes for activity in other Latin American
21   countries). During the meeting, Plaintiffs learned for the very first time unrevealed
22   information that the relationship between Plaintiffs and Pandora was over, that
23   Plaintiffs’ operation in Panama would be taken over directly by Pandora, that
24   Plaintiffs would have 120 days to finalize the sale of their profitable stores in
25   Guatemala and Uruguay to pre-approved buyers and the deal would need to be
26   accepted within 10 days or Pandora would terminate all of the Franchise
27   Agreements. Pandora had Plaintiffs execute an NDA in advance of this meeting.
28   Plaintiffs were aware that Panamanian law requires a Panamanian citizen to own a
                                             - 13 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 14 of 30



 1   Pandora retail store and that Pandora is not a Panamanian citizen. Plaintiffs’
 2   research tended to confirm that Pandora Retail was created to take over and operate
 3   Plaintiffs’ stores.
 4          45.    Within hours of this meeting’s conclusion, Mr. Pereyra emailed to Mr.
 5   Mohinani a short list of only three approved buyers.
 6          46.    On April 29, 2022, Mr. Pereyra forwarded three Notices of Default to
 7   Plaintiffs. The purported Notices of Default contained, for the first time, multiple
 8   defaults asserted and ten days to cure the default or face termination. In these
 9   notices, Pandora manufactured another basis of default that, under Sections 3(B)
10   and 11(C) of each Franchise Agreement “Franchisee is prohibited from engaging
11   in any conduct that might injure the goodwill associated with Franchisor’s marks.”
12   The letter further falsely asserts that Mr. Mohinani failed to deliver tax returns and
13   accounting information which was provided to Pandora Latam. Plaintiffs and Mr.
14   Mohinani kept Pandora Franchise and Pandora Latam and their legal counsel fully
15   apprised of the facts and evidence to support his defense to false allegations against
16   him bi-monthly. The purported default notices falsely claimed that Mr. Mohinani
17   damaged Pandora’s trademarks and reputation. To the contrary, Mr. Mohinani’s
18   Pandora stores were achieving a healthy recovery post-pandemic with purchases,
19   sales, store traffic, and store conversions beyond Pandora’s expectations and
20   outperforming most franchised Pandora stores in Latin America. This recovery
21   gained Mr. Pereyra public recognition on May 16, 2022, and May 30, 2022,
22   through his “Pandora Latam Minute” videos.
23          47.    Mr. Pereyra gave Mr. Mohinani 10 days to respond including to
24   provide documents that were already in Defendants’ possession that Plaintiffs had
25   provided to Defendants over the years, again, without issue. Plaintiffs’ cures and
26   efforts to cure the purported defaults were never enough. Over the years, Plaintiffs
27   provided their financial statements, which were responded to with accusations
28   rather than working toward a resolution. Mr. Pereyra further ordered a better
                                             - 14 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 15 of 30



 1   response to the financial request for information that had been responded to
 2   without issue in February 2021. In response to the ultimatum from Mr. Pereyra,
 3   Plaintiffs offered to cure the asserted defaults. Instead of working with Plaintiffs,
 4   however, Defendants began cutting off access to the technology stack utilized in
 5   operating Pandora stores making Plaintiffs a franchisee in name only, but having to
 6   pay marketing fees without the benefit of the franchisee services.
 7         48.    During the cure period of this notice, Pandora, through its local legal
 8   counsel in Panama, Khatiya Asvat Patel, filed the necessary paperwork so that the
 9   new company formed by Pandora back in April 2021 “Pandora Jewelry Panama
10   Retail, S.A.,” referred to as “Panama Retail” herein, could commence retail sales in
11   Panama and formally take over operation of Plaintiffs’ Pandora franchise stores in
12   Panama as of July 1, 2022. Specifically, this notice advised the government of
13   Panama that Pandora Retail, a company formed by Mr. Pereyra and/or Pandora
14   with the same principal address Pandora Latam and Pandora Jewelry Panama, S.A.
15   and the same principal officer Ms. Cordovez, would be starting operation of
16   Plaintiffs’ Pandora franchise stores (which were operating pursuant to valid
17   Franchise Agreements) on July 1, 2022. Defendants never mentioned Pandora
18   Retail’s existence to Plaintiffs.
19         49.    On or about May 13, 2022, Plaintiffs’ counsel sent a letter stating that
20   Pandora Franchise and Pandora Latam were provided all material and facts going
21   back three (3) years concerning the marital dissolution between Mr. Mohinani and
22   his wife. The response identified Pandora’s attempts to take over Mr. Mohinani’s
23   network of Pandora franchise stores as was told directly to his face by Mr. Pereyra
24   as General Manager of Pandora Latam during a meeting on April 8, 2022, at
25   Pandora Latam, Pandora Jewelry Panama, S.A. and Pandora Retail’s offices in
26   Panama City, Panama and through Defendants’ unannounced secretly planned
27   visits to the stores by personnel to learn the business practices of Plaintiffs. As to
28   the sweeping demand for information and financial documents made in February
                                             - 15 -
                                         COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 16 of 30



 1   2021 and in April 2022, Plaintiffs’ counsel reminded Pandora that the CHARM
 2   system (administered and owned by Pandora) provides all operating aspects
 3   including sales, purchases, returns, inventory, price, discounts, sales taxes, etc. and
 4   provides that to Defendants with direct and real-time access to all of the reasonable
 5   information requested. Furthermore, Plaintiffs promptly provided the requested tax
 6   returns and financial statements and requested the legitimate and rational basis for
 7   requesting the other documents that were not operational in nature or related to
 8   Plaintiffs’ Pandora stores’ performance.
 9         50.    Plaintiffs have never received a response as to this request.
10        Pandora Conjures Up Financial Defaults and Blocks Access to Credits
11         51.    Pandora Franchise and Pandora Latam provides COOP credits based
12   on the purchases from the previous year to Pandora franchisees in the amount of
13   5% of the previous years’ purchases. As of May 2022, Pandora confirmed with
14   Plaintiffs that the Panama stores had a COOP credit available to them in the
15   amount of $130,391.84. Plaintiffs’ Guatemala operation had a credit of $98,673.49
16   to apply. Plaintiffs’ Uruguay operation had $20,713.84. The total COOP credit
17   available to Plaintiffs was $249,779.17.
18         52.    Pandora also provides a return credit to franchisees including
19   Plaintiffs calculated as 6% of the previous years’ purchases to allow for
20   franchisees to return goods if they are defective or slow on rotation. Plaintiffs
21   would routinely fill out a Pandora document provided and would ship the goods to
22   Pandora to receive the credit. As of May 2022, Plaintiffs had $128,478.99 in credit
23   to apply in Guatemala; $26,192.02 in credit to apply in Uruguay; and a $65,497.72
24   balance in credit to apply in Panama. The total defective merchandise credit
25   available for Plaintiffs’ use was $220,168.73. On or about May 25, 2022, Pandora
26   cut-off each Plaintiff’s access to its Pandora Cloud system, through which these
27   credits are applied in favor of Plaintiffs’ accounts, therefore precluding Plaintiffs
28   from applying these amounts to their open credit line with Pandora.
                                              - 16 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 17 of 30



 1         53.   According to Pandora’s “Merchandising Product & Planning
 2   Department”, sales at Plaintiffs’ stores in 2021 increased approximately 31% from
 3   2020 and store traffic was up 35% from 2021 in Panama. Every year, Pandora and
 4   Mr. Mohinani would meet in or around October to determine the amount of
 5   inventory Plaintiffs would need to purchase for their franchises (a.k.a. “SELL IN”)
 6   and the amount of product Mr. Mohinani would need to sell in his stores (a.k.a.
 7   “SELL OUT”). At the end of 2021, having no real choice as to terms, Mr.
 8   Mohinani Plaintiffs agreed to lofty inventory purchases in Panama. Pandora had
 9   far stronger bargaining power because unless the Plaintiffs acceded to Defendants
10   terms the Plaintiffs would lose their investment in the Pandora stores. Normally
11   minutes were prepared by Pandora and signed by the parties, but no such
12   formalities were undertaken at the October 2021 meeting. In January 2022,
13   Pandora issued “The Replenishment” purchase figures which was an increase of
14   SELL IN that was forced upon Plaintiffs. Sales and Managing Director for Pandora
15   Latam, Ms. Cordovez, sent Mr. Mohinani an email stating that Pandora was
16   requiring an increase in the amount of goods Plaintiffs must purchase.
17         54.   The    imposed    purchase     requirements   as   part   of   the   2022
18   “Replenishment” required Mr. Mohinani to purchase an additional $857,290 in
19   Panama in 2022, and, by May 2022, Plaintiffs had already purchased $280,497.40
20   toward the Replenishment. Pandora required Mr. Mohinani to purchase $512,050
21   extra in inventory even though he had already paid $39,798.70 of the
22   Replenishment. Mr. Mohinani’s Uruguay stores were required to purchase an extra
23   $241,780:
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                                              - 17 -
                                       COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 18 of 30



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10      55.       As of May 2022, Plaintiff Mohinani Group was 2% over the SELL
11   OUT (items sold) and 24% over in SELL IN (items purchased from Pandora).
12      56.       On May 19, 2022, despite the credits available to Plaintiffs and the
13   forced inventory purchase above what was commercially attainable, Mr. Pereyra
14   and Pandora acted to remove Plaintiffs and Mr. Mohinani from his network of
15   successfully operating Pandora franchises without paying for them by issuing
16   another Notice of Default. The two purported notices of default claimed “non-
17   payment of sums” due in the amount of $70,990.27 for invoices of excess
18   inventory forced upon Mulzek for its locations; and $715,348.50 for invoices of
19   excess inventory forced upon Plaintiff Mohinani Group for its locations which
20   were sold to Plaintiffs on credit terms.
21      57.       On or about May 24, 2022, without any notice, Pandora cut off
22   Plaintiffs’ credit terms for purchasing product via email from Ms. Cordovez for
23   alleged delinquent payments.
24      58.       Three days later, on May 27, 2022, Plaintiffs Mulzek and Mohinani
25   Group responded stating that their credit terms have been established practice for
26   the entire franchise relationship, these Plaintiffs have been purchasing products on
27   a revolving credit basis and, that over the course of the franchise relationship
28   across Plaintiffs’ Pandora stores in Latin America, informed Plaintiffs
                                                - 18 -
                                         COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 19 of 30



 1   understanding when agreeing to purchase requirements that allowed invoices to
 2   remain open for 80 to 240 days.
 3      59.      On or about June 1, 2022, Pandora threatened termination of Location
 4   #802 despite that the delay was beyond Plaintiffs control and was caused by
 5   government of Panama’s inability to deliver the space from the outset was not a
 6   force majeure event after Pandora approved the space knowing this was a new
 7   terminal that had not been built yet and even though Section 17(G)(v) of the
 8   Franchise Agreement expressly states that failure of performance by causes that
 9   include failure of a government or public authority to grant a necessary license or
10   consent would be excused.
11      60.      Pandora acted with a coded animus taking away access to system
12   wide assistance. On or about June 6, 2022, Plaintiffs sent Ms. Cordovez an email
13   requesting to send more defective goods back but the email could not be delivered
14   because Pandora blocked access to the Pandora Cloud system (administered and
15   operated by Pandora). Plaintiffs have been denied access to the system since May
16   2022.
17                         Purported Termination of Franchises
18      61.      On or about June 7, 2022, Pandora sent a letter to Plaintiffs stating
19   that that all the above Franchise Agreements are terminated. The letter claims
20   Plaintiff Mohinani Group failed to pay amounts due to Pandora. The claims are
21   false. Between January 1, 2022, and June 6, 2022, Plaintiff Mohinani Group paid
22   Pandora Franchise approximately $1,448,306.57 and had ample COOP and
23   defective-good-return credits to cover the alleged delinquent payments. Pandora
24   purported to terminate the Uruguay and Guatemala Franchise Agreements under
25   the cross-default sections in the Franchise Agreements. Defendants did not have
26   grounds for early termination under any of the Franchise Agreements. Defendants
27   did not state accurate reasons for termination in a written notice of termination.
28   The reasons stated in the termination notice, whether or not valid had they been
                                            - 19 -
                                       COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 20 of 30



 1   accurate, were not accurate. Defendants did not commit a material violation of any
 2   law, ordinance, rule or regulation. Plaintiffs did not do any of these. Even if
 3   Defendants attempt to identify and claim Plaintiffs did any of these, such actions,
 4   viewed in the context of the system of franchises, and the absence of prior notice to
 5   Plaintiffs, shows they were not unfavorable to Defendants’ operation and
 6   reputation and were not material. Even if any such occurrences took place, an
 7   occurrence with regard to one Franchise Agreement is not grounds for termination
 8   of the other or of all Franchise Agreements.
 9      62.       After purporting to terminate the Franchise Agreements, Mr. Pereyra
10   demanded that Mr. Mohinani immediately transfer all leases of Plaintiffs’ stores in
11   Panama, and the telephone numbers, furniture, showcases, and lighting at Plaintiffs
12   stores at Plaintiffs’ sole cost and expense so that Pandora Retail may operate the
13   stores as of July 1, 2022, as was planned by Mr. Pereyra and Pandora back in April
14   2021 despite the plan being illegal under Panama’s Constitution Article 293
15   restrictions of what companies may engage in retail trade in that country.
16      63.       Despite Plaintiffs’ compliance after the purported termination, Mr.
17   Pereyra has sent harassing letters to Plaintiffs’ landlords to terminate Plaintiffs
18   leases without any legal justification. Claiming to be a representative of only
19   Pandora Jewelry Panama, S.A., and Pandora Franchise (but, oddly enough, not the
20   Pandora franchisor Pandora Latam LLC), Mr. Pereyra approached the Panamanian
21   government demanding that the government hand over the rights to Plaintiffs’
22   location at Terminal 2. Mr. Pereyra has engaged in a campaign of sending letters to
23   malls in Panama, Guatemala and Uruguay damaging Plaintiffs’ relationships with
24   these malls to the point of irreparability. The actions of Mr. Pereyra and
25   Defendants have harmed the goodwill Mr. Mohinani and his employees have
26   developed in other stores in these malls. As recently as June 29, 2022, Plaintiff
27   Mulzek received a letter from the administrator of “Montevideo Shopping Center”
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                                             - 20 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 21 of 30



 1   which indicated that the landlord intends to terminate the lease. The letter referred
 2   to the letter sent by Mr. Pereyra on behalf of Pandora Jewelry Panama, S.A.
 3      64.       Not content with Plaintiffs’ insistence on receiving just compensation
 4   for their inventories, stores and other assets, Mr. Pereyra, acting on behalf of
 5   Pandora Franchise, Pandora Latam, Pandora Jewelry Panama, S.A. and/or Pandora
 6   Retail embarked on a media campaign in Guatemala, Uruguay and Panama intent
 7   on devaluing the assets of Plaintiffs and coercing Plaintiffs into unbalanced
 8   negotiations between the parties. Pandora has continuously sponsored, for over 30
 9   days, news articles in mainstream media outlets in Panama, Uruguay and
10   Guatemala in which they indicate that “In the coming months Pandora will open
11   our own stores, operated and administered by the brand directly.” This is a direct
12   violation of Panama’s constitution, illegal and causes a devaluation to Plaintiffs’
13   interest in selling the store and assets for value and, with that, Mr. Pereyra and
14   Pandora completely closed 14 stores in three (3) countries putting many dozens of
15   jobs and millions in value at risk.
16      65.       On or about June 10, 2021, which was weeks after unilaterally
17   terminating Plaintiffs’ credit terms and several days after terminating the franchise
18   relationship with Plaintiffs, Pandora Latam sent Plaintiffs Mohinani Group and
19   Mulzek a total of six separate invoices, on credit terms, totaling approximately
20   $21,000 two of which were paid by Plaintiffs yet Pandora failed to send the
21   inventory purchased to either Plaintiff. Plaintiffs retained the undersigned counsel
22   and have agreed to pay and are paying counsel a reasonable fee for providing
23   representation in this case.
24              Plaintiffs Alleged Violation of Post-Termination Obligations
25      66.        Defendant claims that it has properly terminated each Franchise
26   Agreement with Plaintiffs and that, as a result thereof:
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                                              - 21 -
                                           COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 22 of 30



 1            A.    Each Plaintiff is required to cease operating the franchise businesses;
 2   cease using the Pandora System; and cease using the Pandora Marks and trade
 3   dress;
 4            B.    The Plaintiffs, at their own expense, is required to alter, modify, and
 5   change both the exterior and interior appearance of Plaintiffs stores so they would
 6   be clearly distinguished from the standard appearance of a Pandora jewelry store;
 7            C.    That the Plaintiffs cannot, for a period of one year after the purported
 8   termination, on its own account or as an employee, principal, agent, independent
 9   contractor, consultant, affiliate, licensee, partner, officer, director, or owner of any
10   other person, firm, entity, partnership or corporation, own, operate, lease,
11   franchise, conduct, engage in, be connected with, have any interest in or assist any
12   person or entity engaged in any jewelry store located within fifteen miles of
13   Plaintiffs franchise locations; within fifteen miles of any other Pandora jewelry
14   store.
15            67.    Plaintiffs contend that Defendants anticipatorily breached the
16   Franchise Agreement, that none of the Franchise Agreements were properly
17   terminated and that the proper termination of those agreements is a condition
18   precedent to the alleged post-termination requirements.
19            68.    Plaintiffs further contend that the restrictive covenants in the non-
20   compete language in the Franchise Agreements are overreaching, overbearing,
21   draconian, and unenforceable.
22       COUNT 1: BREACH OF THE COVENANT OF GOOD FAITH AND
23                                       FAIR DEALING
24                            (AGAINT PANDORA LATAM LLC)
25            69.    Paragraphs 1 through 68 are re-alleged as if fully set forth herein.
26            70.    Plaintiffs and Defendant Pandora Latam LLC are parties to written
27   Franchise Agreements concerning the operation of franchises known as Pandora
28   Jewelry, as follows:
                                                - 22 -
                                           COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 23 of 30



 1
           A.     Franchise Agreement for franchise Location #476

 2
           B.     Franchise Agreement for franchise Location #510

 3
           C.     Franchise Agreement for franchise Location #530

 4         D.     Franchise Agreement for franchise Location #608

 5         E.     Franchise Agreement for franchise Location #672

 6         F.     Franchise Agreement for franchise Location #673

 7         G.     Franchise Agreement for franchise Location #753

 8         H.     Franchise Agreement for franchise Location #765

 9         I.     Franchise Agreement for franchise Location #799

10         J.     Franchise Agreement for franchise Location #853

11         K.     Franchise Agreement for franchise Location #859

12         L.     Franchise Agreement for franchise Location #802

13         M.     Franchise Agreement for a franchise location in Naranjo, Guatemala.

14         N.     Franchise Agreement for a franchise location in Santa Catarina Pinula,

15                Guatemala

16         71.    The Franchise Agreements include a covenant of good faith and fair
17   dealing. Under this covenant Defendants cannot take action that undermines the
18   benefit of the agreements.
19         72.    Within three years before the filing date of this Complaint, Pandora
20   Latam and/or Pandora Franchise orchestrated a default under false pretext and
21   taking and forfeiting an estimated $59,500,000.00 of sales and estimated
22   $31,836,000.00 of value from Plaintiffs’ stores. These actions undermine the
23   benefit of the agreements.
24         73.    Defendant is breaching the covenant of good faith.
25         74.    Plaintiffs performed all obligations under the agreements and if any
26   was not performed it was excused.
27         75.    Defendant’s actions are breaching and will breach and are causing and
28   will cause damage to Plaintiffs.
                                            - 23 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 24 of 30



 1         76.    Plaintiffs have suffered and will continue to suffer lost profits,
 2   increased costs, lost market share, reputational harm, and other consequential
 3   damages in amounts to be proved at trial.
 4         77.    Much of the harm to Plaintiffs is irreparable and further irreparable
 5   harm would result from Defendants establishing corporate stores at the Plaintiffs
 6   franchise locations, therefore Defendants and all persons acting in concert with or
 7   assisting Defendants should be enjoined and restrained from doing so.
 8         78.    Under Section 13(C) of the franchise agreements, the prevailing party
 9   is entitled to recover reasonable attorney’s fees and costs. Plaintiffs request
10   reasonable attorney’s fees and costs.
11      COUNT 2: INTENTIONAL INTERFERENCE WITH PROSPECTIVE
12                              ECONOMIC ADVANTAGE
13                             (AGAINT ALL DEFENDANTS)
14         79.    Paragraphs 1 through 68 are re-alleged as if fully set forth herein.
15         80.    Plaintiffs have established business relationships with identified or
16   identifiable customers.
17         81.    Plaintiffs have a long history of doing business with those customers,
18   good relations with the customers and the reasonable expectation of continuing to
19   do business with the customers.
20         82.    Defendants know of these relationships. It is Defendants’ knowledge
21   of these relationships and expectation of Plaintiffs' continuing to do business with
22   them, and the success of Plaintiffs' stores that is motivation for Defendants to take
23   over the stores, specifically to appropriate and forfeit to Defendants, Plaintiffs'
24   relationship with Plaintiffs’ customers.
25         83.    Within three years before the filing date of this Complaint,
26   Defendants are interfering with Plaintiffs’ established relations with the customers,
27   by taking improper actions for the purpose and with the intent and effect of
28   appropriating to themselves, the customers and customer relationships and
                                                - 24 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 25 of 30



 1   patronage and business that Plaintiffs invested in, developed, and established.
 2         84.    Defendants’ actions and conduct are wrongful by a measure other than
 3   the actions viewed by themselves. Defendants’ actions are wrongful independently
 4   as:
 5         a. being in breach of the covenant of good faith between the parties;
 6         b. additionally and alternatively, unethical, unfair, unconscionable actions,
 7   in violation of Maryland’s common law of unfair competition and Panama’s
 8   Constitution Article 293;
 9         c. additionally and alternatively, wrongful due to Defendants misuse of
10   confidential, trade secret statistical, sales and other operational information that
11   was provided to Defendants for Defendants' use to assist Plaintiffs, not to use to
12   compete against and take away business from Plaintiffs.
13         85.    Defendants are causing damage to Plaintiffs.
14         86.    Plaintiffs have suffered and will continue to suffer lost profits,
15   increased costs, lost market share, and other consequential damages in amounts to
16   be proved at trial.
17         87.    Defendants acted with oppression, fraud and malice, justifying
18   punitive damages.
19     COUNT 3: INTENTIONAL INTERFERENCE WITH CONTRACTUAL
20                                      RELATIONS
21                           (AGAINT ALL DEFENDANTS)
22         88.    Paragraphs 1 through 68 are re-alleged as if fully set forth herein.
23         89.    Since the inception of the Lease Agreements, each Defendant has
24   been aware of the agreements.
25         90.    Within three years before the filing date of this Complaint,
26   Defendants’ agents instructed the landlords to terminate the Lease Agreements for
27   each of Plaintiff’s Pandora stores. Defendants thereby acted with the intent to
28   disrupt the contractual relationship between Plaintiffs and the landlord and further
                                             - 25 -
                                        COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 26 of 30



 1   knew that a disruption to the relationship was certain or substantially certain to
 2   occur as a result of its conduct.
 3         91.    There was no justification for the interference by Defendants’ agents.
 4         92.    As a direct and proximate result of Defendants intentional
 5   interference, Plaintiffs have suffered and will continue to suffer damages in an
 6   amount to be proven at trial.
 7         93.    The conduct of Defendants as alleged herein was willful, oppressive,
 8   malicious, and in wanton and conscious disregard of Plaintiffs’ rights.
 9   Accordingly, punitive damages should be assessed against each Defendant in an
10   amount that will be sufficient to deter them from engaging in such conduct in the
11   future.
12                          COUNT 4: UNJUST ENRICHMENT
13                            (AGAINT ALL DEFENDANTS)
14         94.    Paragraphs 1 through 68 are re-alleged as if fully set forth herein.
15         95.    Pandora franchisees, including Plaintiffs, are required to contribute a
16   portion of monthly sales to a system marketing fund referred to in the Franchise
17   Agreements and herein as the “Marketing Fund”.
18         96.    In the Franchise Agreements, Pandora promised to make a “good faith
19   effort to expend the Marketing Fund Fees in a manner that [they] determine is in
20   the general best interests of the System.” (Franchise Agrmt. § 9(C)i).
21         97.    Pandora further promised not to use the Marketing Fund for non-
22   marketing purposes.
23         98.    Over the course of the parties’ franchise relationship, Plaintiffs paid
24   approximately $1,400,000 to the franchisor entity.
25         99.    Pandora failed to make a good faith effort to expend the Marketing
26   Fund Fees to benefit the System and used the Marketing Fund for their own
27   personal gain.
28         100. Defendants’ receipt of payments of fees without providing services
                                             - 26 -
                                         COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 27 of 30



 1   required of a legitimate franchisor has resulted in Defendants unjustly receiving,
 2   appreciating and retaining benefits from Plaintiffs, causing unjust enrichment of
 3   Defendants in an amount to be determined at trial.
 4                         COUNT 5: UNFAIR COMPETITION
 5                            (AGAINT ALL DEFENDANTS)
 6         101. Paragraphs 1 through 68 are re-alleged as if fully set forth herein.
 7         102. Each Defendant engaged in and is engaging in a series and pattern of
 8   unfair, unscrupulous, unethical, unlawful business practices.        This series and
 9   pattern includes purporting to terminate and/or terminating multiple franchises
10   located in multiple locations without grounds to do so and in a manner that violates
11   the covenant of good faith and fair dealing and Panama’s Constitution Article 293.
12         103. Each Defendant has been and is continuing to be and threatens to be
13   unjustly enriched by its unfair, unscrupulous, unethical, unlawful conduct and
14   should be required to disgorge and turn over to Plaintiffs all revenues and profits
15   and value that they received, obtained and derived that arising from or is infected
16   by their unfair business practices.
17         104. Defendants should be enjoined and restrained on a temporary,
18   preliminary and permanent basis; both prohibitory and mandatory in nature, to
19   avoid and refrain from all forms of unfair competition including but not limited to
20   purporting to terminate and/or terminating multiple franchises located in multiple
21   locations without grounds to do so and in a manner that violates the covenant of
22   good faith and fair dealing and Panama’s Constitution Article 293, interfering with
23   Plaintiffs business and contractual relations.
24                     COUNT 6: DECLARATORY JUDGEMENT
25         (AGAINT DEFENDANTS PANDORA FRANCHSING LLC AND
26                               PANDORA LATAM LLC)
27      105.      Paragraphs 1 through 68 are re-alleged as if fully set forth herein.
28      106.      28 U.S.C. § 2201 confers upon the Court the power to determine
                                              - 27 -
                                           COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 28 of 30



 1   within its District the rights of the parties to a contract where an actual controversy
 2   exists. The parties need a judicial declaration to guide their future conduct.
 3      107.      An actual controversy exists between Plaintiffs and Defendants.
 4   Plaintiffs contend that the purported notices of default provided to Plaintiffs
 5   pursuant to the Franchise Agreements was not proper notice and that the purported
 6   notices of termination required pursuant to the Franchise Agreements was likewise
 7   ineffective. Defendants deny this.
 8      108.      Plaintiffs request a declaratory judgment that notices of default
 9   provided to Plaintiffs was not proper notice and that the purported notices of
10   termination required pursuant to the Franchise Agreements was likewise
11   ineffective. Plaintiffs further request a declaratory judgment that the Franchise
12   Agreements have not been terminated.
13      109.      A controversy exists between Plaintiffs and Defendants regarding the
14   interpretation of Section 19(C) of the Franchise Agreement.
15      110.      Plaintiffs contend that the novel Covid-19 Pandemic and the response
16   to the Pandemic of the Panamanian government which caused the opening of the
17   franchise location at Panama City Tocumen Airport Terminal 2 is defined as a
18   force majeure event under the Franchise Agreements.
19      111.      Plaintiffs request a declaratory judgment that the failure to open the
20   franchise location at Terminal 2 within 180 days after the effective date of the
21   Franchise Agreement for Terminal 2 does not trigger an event of default under the
22   Franchise Agreements.
23      112.      A further controversy exists between Plaintiffs and Defendants
24   regarding Section 9(C)i of the Franchise Agreement.
25      113.      Plaintiffs contend that Defendant must act in good faith when
26   expending the Marketing Fund Fee. Defendants deny this.
27      114.      Plaintiffs request a declaratory judgment that Section 9(C)i requires
28   Defendants to exercise discretion in good faith in expending the Marketing Fund
                                              - 28 -
                                          COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 29 of 30



 1   Fee.
 2                                 PRAYER FOR RELIEF
 3          Plaintiffs pray for relief and judgment on the Complaint against Pandora
 4   Franchising LLC and Pandora Latam LLC as follows:
 5          1.      For damages according to proof in excess of $42,000,000.
 6          2.      For temporary, preliminary and permanent injunctive relief,
 7   mandatory and prohibitory in nature, enjoining all forms of unfair business acts
 8   and practices and unfair competition, including but not limited to purporting to
 9   terminate and/or terminating multiple franchises located in multiple locations
10   without grounds to do so and in a manner that violates the covenant of good faith
11   and fair dealing and Panama’s Constitution Article 293, withholding services,
12   interfering with Plaintiffs business and contractual relations, and all other forms of
13   unfair competition and practices.
14          3.      For disgorgement of unjust enrichment and restitution in amounts to
15   be proven at trial;
16          4.      For attorney’s fees and costs pursuant to Section 13(C) of the
17   franchise agreements;
18          5.      For a declaratory judgment that the Franchise Agreements with
19   Pandora Latam LLC have not been terminated.
20          6.      For a declaratory judgment that the purported notices of default
21   provided to Plaintiffs was not proper notice and that the purported notices of
22   termination required pursuant to the Franchise Agreements was likewise
23   ineffective.
24          7.      For a declaratory judgment that the failure to open the franchise
25   location at Terminal 2 within 180 days after the effective date of the franchise
26   agreement is not a default of the franchise agreement.
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                                             - 29 -
                                         COMPLAINT
      Case 1:22-cv-01758-CCB Document 1 Filed 07/18/22 Page 30 of 30



 1        8.     For a declaratory judgment that Section 9(C)i of the Franchise
 2   Agreement requires Defendants to exercise discretion in good faith when
 3   expending the Marketing Fund Fee.
 4        9.     For punitive damages.
 5        10.    For such other and further relief as the Court deems just and proper.
 6
     DATED: July18, 2022                               GREENSPOON MARDER LLP
 7
                                                       /s/ Eric VandeLinde
 8                                                     Eric VandeLinde, Esq.
 9
                                                       Attorneys for Plaintiffs

10
                                      JURY DEMAND

11        Plaintiffs request trial by jury.
12
                                                       GREENSPOON MARDER LLP
13
                                                       /s/ Eric VandeLinde
14
                                                       Eric VandeLinde
15                                                     Attorneys for Plaintiffs
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                                              - 30 -
                                        COMPLAINT
